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                   14                               UNITED STATES DISTRICT COURT
                   15                             NORTHERN DISTRICT OF CALIFORNIA
                   16                                       SAN JOSE DIVISION
                   17

                   18   Calhoun et al. v. Google LLC                   Case No. 5:20-cv-05146-LHK-VKD

                   19                                                  Related action:

                   20                                                  Master File No. 5:21-cv-02155-LHK

                   21   In re Google RTB Consumer Privacy              GOOGLE’S OPPOSITION TO JOINDER IN
                        Litigation,                                    MOTION FOR EMERGENCY RELIEF UNDER
                   22                                                  FED. R. CIV. P. 23(D) AND MOTION FOR AN
                                                                       ORDER SHORTENING TIME FILED BY
                   23   This Document Relates to: all actions,         CALHOUN PLAINTIFFS IN RELATED CASE
                                                                       NO. 5:20-CV-05146-LHK-VKD (ECF
                   24                                                  NOS. 418, 419)

                   25                                                  Judge:        Hon. Lucy H. Koh
                                                                       Hearing Date: March 31, 2022
                   26                                                  Hearing Time: 1:30pm

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                   28
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ATTORNEYS AT LAW                                                                 GOOGLE’S OPPOSITION TO JOINDER IN
 SAN FRANCISCO                                                               MOTION FOR RELIEF AND SHORTENING TIME
                                                                                        CASE NO. 5:20-CV-05146-LHK
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                    1   I.       INTRODUCTION
                    2            Defendant Google LLC (“Google”) respectfully submits this Opposition to Plaintiffs’
                    3   “Joinder” in which Plaintiffs purport to join in a motion for classwide injunctive relief filed by
                    4   different plaintiffs on behalf of a different putative class asserting different claims based on different
                    5   facts.1 Plaintiffs’ half-page Joinder seeks this extraordinary relief without ever explaining how the
                    6   arguments in the Calhoun Rule 23(d) Motion apply to the facts and claims here, without complying
                    7   with applicable procedural requirements, and without providing any prior notice to undersigned
                    8   counsel for Google in this action. And while Plaintiffs also request expedited briefing and
                    9   characterize the relief sought as “emergency” in nature, plaintiffs in Calhoun (who share some
                   10   attorneys in the Google RTB2 matter) knew about the contractual provisions at issue as of December
                   11   1, and the Google RTB Plaintiffs similarly allege that at least Plaintiff Kevranian received the same
                   12   notice regarding the contractual provisions at issue. Any emergency is thus entirely of the
                   13   Plaintiffs’ own making. The Google RTB Plaintiffs should not be rewarded for their lack of
                   14   diligence and their failure to comply with the procedural rules of this District, and their inexplicable
                   15   attempt to shortcut the Federal Rules through this purported “Joinder” should be summarily
                   16   denied.3 But to the extent the Court will entertain the Google RTB Plaintiffs’ improper request for
                   17   joinder, Google requests that the Court decline to enter an expedited briefing schedule based on
                   18   several of the same arguments set forth in its Opposition to the Motion to Shorten Time filed in
                   19   Calhoun.
                   20   II.      FACTUAL BACKGROUND
                   21            On December 20, 2021, Plaintiffs in Calhoun v. Google LLC filed their Rule 23(d) Motion
                   22   pertaining to Google’s New Terms of Service (“New TOS”), set to go into effect on January 5,
                   23   2022, and challenging certain communications concerning those terms that Google sent to its users
                   24   beginning on November 22, 2021. See generally ECF No. 418. Along with that motion, the
                   25
                        1
                   26     See Calhoun v. Google LLC, Case No. 5:20-cv-05146, ECF No. 418, Motion for Emergency
                        Relief under Fed. R. Civ. P. 23(d) (“Rule 23(d) Motion”).
                        2
                   27     In re Google Consumer Privacy Litigation, Case No. 5:20-cv-05146-LHK (“Google RTB”).
                        3
                          Should the Court permit the Google RTB Plaintiffs to join in the Rule 23(d) Motion through its
                   28   “Notice of Joinder,” Google also intends to oppose the Rule 23(d) Motion when the Opposition is
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                        due.
ATTORNEYS AT LAW                                                                           GOOGLE’S OPPOSITION TO JOINDER IN
 SAN FRANCISCO                                                              1          MOTION FOR RELIEF AND SHORTENING TIME
                                                                                                  CASE NO. 5:20-CV-05146-LHK
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                    1   Calhoun Plaintiffs additionally filed a Motion to Shorten Time requesting that the Court order an
                    2   expedited briefing schedule, with briefing set to conclude on December 30, 2021.4 The relevant
                    3   facts pertaining to each of these motions are set out in detail in Google’s Opposition to the Motion
                    4   to Shorten Time filed in Calhoun. On December 22, 2021 – with no prior notice to undersigned
                    5   counsel – Plaintiffs in Google RTB filed a two-paragraph “Joinder” purporting to join in the
                    6   Calhoun Plaintiffs’ Rule 23(d) Motion and Motion to Shorten Time, thereby requesting that this
                    7   Court require undersigned counsel in this action to respond to the Rule 23(d) Motion filed in the
                    8   Calhoun action, and never filed on the Google RTB docket, by December 28, 2021.
                    9   III.    ARGUMENT
                   10           A.     The Court Should Not Permit Joinder Because It Is Procedurally Improper.
                   11           Plaintiffs’ request for joinder in the Calhoun Plaintiffs’ Motions should be denied as there
                   12   is no basis for this procedural maneuver in the Federal Rules of Civil Procedure and the Civil Local
                   13   Rules of Northern District of California. Their two-paragraph “Joinder” presents no arguments or
                   14   facts to explain why this Court should permit the Google RTB Plaintiffs to join in a motion filed by
                   15   different Plaintiffs in a different action, involving different claims and different facts.5 Further,
                   16   while the Federal Rules of Civil Procedure permit joinder of claims under Rule 18 and joinder of
                   17   parties under Rules 19 and 20, the Google RTB Plaintiffs cite no federal or local rule, case law, or
                   18   other authority that would permit parties in one action to “join” a motion filed by different parties
                   19   in a different action.   Plaintiffs’ inability to muster any legal support for their position is
                   20   unsurprising. As another Court observed, “no Federal Rule of Civil Procedure or Local Rule
                   21   permits ‘joining’ the motion of another party in a different action.” See Moncada v. Bank of Am.,
                   22   No. 8:17-cv-2625, 2018 U.S. Dist. LEXIS 125650, *2 (M.D. Fla. July 27, 2018); cf. also Zepeda
                   23
                        4
                          See Calhoun v. Google LLC, Case No. 5:20-cv-05146, ECF No. 419, Motion to Shorten Time for
                   24   Briefing on Plaintiffs’ Motion for Emergency Relief Under Fed. R. Civ. P. 23(d) to Expedite
                        Hearing (“Motion to Shorten Time”).
                        5
                   25     Unlike Google RTB, Calhoun Plaintiffs allege that they chose not to sync their Google accounts
                        with their Chrome browser and that they understood doing so would prevent Google from
                   26   collecting information from them based on provisions in Chrome-specific terms and
                        policies. Calhoun v. Google LLC, 526 F. Supp. 3d 605, 613-16 (N.D. Cal. 2021). Unlike Calhoun,
                   27   Google RTB Plaintiffs challenge alleged data sharing through Google’s Real-Time Bidding system
                        and ground their claims in different statements, terms, and policies. See, e.g., Google RTB, Case
                   28   No. 5:21-cv-02155, ECF No. 92 ¶¶ 1-3, 11-12.
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 SAN FRANCISCO                                                           2          MOTION FOR RELIEF AND SHORTENING TIME
                                                                                               CASE NO. 5:20-CV-05146-LHK
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                    1   v. PayPal, Inc., Nos. C 10-2500, C 10-1668, 2013 WL 2147410, at *3 (N.D. Cal. May 15, 2013)
                    2   (chastising individuals for filing motions in a case to which they were not parties and thus
                    3   “unnecessarily consum[ing] the Court’s time and resources”).
                    4          Indeed, Plaintiffs’ request that Google respond to the Rule 23(d) Motion and the Motion to
                    5   Shorten Time filed in Calhoun actually contravenes the Local Rules of this District because neither
                    6   Motion has ever been properly filed or served in the Google RTB case – thus, there is no pending
                    7   motion on the Google RTB docket to which Google must respond. Local Civil Rule 5.1(g) provides
                    8   that service is only effectuated through the ECF system where notice is sent to “the registered
                    9   attorneys for all parties in the case.” See Civil L.R. 5.1(g). Further, only “[t]he records of filings
                   10   and entries created by the ECF system for each case shall constitute the docket for that case.” Civil
                   11   L.R. 5.1(d)(6) (emphasis added). Since the Rule 23(d) Motion and the Motion to Shorten Time
                   12   were not filed in Google RTB, neither Motion was ever properly filed or served on undersigned
                   13   counsel for Google. Plaintiffs’ impermissible filing of a “Joinder” on December 22, 2021, does not
                   14   excuse them from complying with basic filing and service requirements.
                   15          B.      The Request for Expedited Briefing in the Google RTB Action Should be
                                       Denied.
                   16

                   17          Even if the Court were to overlook the procedural deficiencies described above, it should

                   18   decline to require Google to respond to Plaintiffs’ Rule 23(d) Motion on an expedited basis.

                   19          To start, Plaintiffs have not satisfied the procedural prerequisites required for seeking

                   20   expedited relief under Civil Local Rule 6-3(a). That Rule details various factual assertions that

                   21   must be established by a supporting declaration attached to the motion, including a “[d]escri[ption]

                   22   [of] the efforts the party has made to obtain a stipulation to the time change.” Civil L.R. 6.3(a)(2).

                   23   Here, the Google RTB Plaintiffs never even informed undersigned counsel that they intended to

                   24   join in the Motion to Shorten Time filed in Calhoun, nor did they ever attempt to confer with

                   25   undersigned counsel on any of the issues addressed in the Calhoun Plaintiffs’ underlying Rule 23(d)

                   26   Motion. See Declaration of Jeffrey M. Gutkin in Support of Google’s Opposition to Joinder ¶¶ 2-

                   27   3 (filed herewith). While the Calhoun Plaintiffs provide a declaration describing a purported effort

                   28   to satisfy the meet-and-confer requirement in Calhoun, see Case No. 5:20-cv-05146, ECF Nos. 418
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ATTORNEYS AT LAW                                                                         GOOGLE’S OPPOSITION TO JOINDER IN
 SAN FRANCISCO                                                            3          MOTION FOR RELIEF AND SHORTENING TIME
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                    1   at 4-5 & 418-2 ¶¶ 12-16, the Google RTB Plaintiffs made no such efforts in their Joinder and do
                    2   not pretend otherwise. Accordingly, the Google RTB Plaintiffs’ request to expedite briefing should
                    3   be denied. See Zepeda, 2013 WL 2147410, at *1 (concluding failure to meet and confer as required
                    4   by the Local Rules was sufficient reason to deny a motion).
                    5          Further, to the extent the Google RTB Plaintiffs are allowed to improperly join the Calhoun
                    6   Plaintiffs’ Motion to Shorten Time, Google also joins in the arguments set forth in the opposition
                    7   thereto filed in Calhoun, see Calhoun, Case No. 5:20-cv-05146, ECF No. 434, many of which also
                    8   support denial of the relief requested by the Google RTB Plaintiffs. For starters, Plaintiffs have not
                    9   come close to demonstrating that “substantial harm or prejudice” would ensue if their request for
                   10   expedited briefing is denied. Fed. R. Civ. 6-3(a)(3). As explained in that Opposition, the Court
                   11   can provide whole relief to the Plaintiffs on the standard briefing schedule, because the Court’s
                   12   powers to nullify waivers will be no different after the New TOS enters into effect. Guifu Li v. A
                   13   Perfect Day Franchise, Inc., 270 F.R.D. 509, 518 (N.D. Cal. 2010). Moreover, the lead named
                   14   Plaintiff in Calhoun admits that he knew about the challenged provisions as of December 1, yet
                   15   delayed in seeking the purportedly emergency relief until almost three weeks later. See Calhoun,
                   16   Case No. 5:20-cv-05146, ECF No. 418-1 at 5. The Google RTB Plaintiffs – who are represented
                   17   by some of the same counsel – then delayed an additional two days before attempting to assert the
                   18   same arguments against Google in the Google RTB action. Plaintiffs’ delay belie their claim that
                   19   exigent circumstances exist. Accordingly, the Court should deny the Motion to Shorten Time.
                   20   IV.    CONCLUSION
                   21          For the foregoing reasons, Google respectfully requests that the Court summarily reject the
                   22   Google RTB Plaintiffs’ request to join in the Rule 23(d) Motion filed by the Calhoun Plaintiffs
                   23   based on their improper and deficient “Joinder.” Alternatively, if the Court permits the request for
                   24   Joinder, Google respectfully requests that the Court deny the Motion to Shorten Time so that the
                   25   issues raised can be thoroughly briefed pursuant to a standard briefing schedule.
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ATTORNEYS AT LAW                                                                         GOOGLE’S OPPOSITION TO JOINDER IN
 SAN FRANCISCO                                                            4          MOTION FOR RELIEF AND SHORTENING TIME
                                                                                                CASE NO. 5:20-CV-05146-LHK
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                    1   Dated: December 27, 2021                  COOLEY LLP
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                    5

                    6
                                                                  By: /s/ Jeffrey M. Gutkin
                    7                                                 Jeffrey M. Gutkin
                    8                                             Attorneys for Defendant
                                                                  GOOGLE LLC
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 SAN FRANCISCO                                                5           MOTION FOR RELIEF AND SHORTENING TIME
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